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60) MINUTES “i. Section Front

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Jane Fonda: On Her Own

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April 10, 2005

The Early Show CBS EveningNews 48 Hoursi 60 Minutes (SUN)

Jane Fonda: 'A Betrayai'

Actress Jane Fonda tells 60
Minutes about some of the
complicated relationships in her
life. (Photo: AP)

“He gave me confidence. Ted
Turner would wake up every
morning and say, 'l love you
so much. You are so
beautiful.”

Jane Fonda, on her marriage to Ted
Turner

Fonda acknowledges that while

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(CBS) After 60 Minutes ran the first
part of its interview with Jane Fonda
last week, which was cut short by
coverage of the death of Pope John
Paul ll, the show received more mail
than usual — most of it angry.

Fonda still stirs that kind of emotion for
her trip to Hanoi during the Vietnam
War. While she defended most of what
she did on that trip in her interview with
Correspondent Lesley Stahl, she
apologized in the broadcast for one
thing: posing at an anti-aircraft gun the
North Vietnamese used to shoot down
American pilots.

In her new beok, "My Life So Far," and
in Part li of her interview with 60
Minutes, Fonda acknowledges that
while she could be outspoken on the
public stage, as she was in Vietnam,
she was close to timid with her
husbands — first with French film
director Roger Vadim, and then with
political activist Tom Hayden,

But if she failed in her personal
relationships, her professional life has
been a dazzling string of successes,
one after another.

In 1979, she started "The Workout,”
which sold nearly 17 million copies.
She says she used the proceeds from
"The Workout” to fund the various
causes she and Hayden supported. In
fact, for many years, she didn't even

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Housewife,’ plus premieres for
‘Hit¢hhiker' and hoops docudrama

B The Hot List

“Entertainment Tonight" ranks the
most talked-about celebrities.

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Video

Jane Fonda sat down with 60

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she could be outspoken on the own the business. Their political Minutes Correspondent Lesley
public stage, she was close to timid organization did. Stahl to discuss one regret from
with her husbands. (Photo: 60 her past: her visit te a North
Minutes/CBS) "We structured it that way, so all the Vietnamese anti-aircraft gun site
money from ‘The Workout’ went into used to shoot down U.S. pilots.
the organization," says Fonda. "I think
$17 million.” er

tory

How did Hayden react to "The

“My Life So Far" by Jane Workout"? "He hated it," says Fonda. fane Fonda: Wish | Hadn't
Fonda "He hated “The Workout.' He thought it :
(advertisement) was all about vanity. And, so even

though, you know, it put a lot of money
into our political work, it felt like a
wedge for him, between the two of us."

On her 51st birthday, Hayden told her he had fallen in love with someone
else. "And my life collapsed,” says Fonda, who had a nervous breakdown. "!
couldn't speak above a whisper. | couldn't walk fast. | felt like blood was
coming through my skin. | felt like I'd just found out I'd been adopted.”

After 17 years of marriage, and having a child together, they divorced. On the
day after it was announced in the papers, Ted Turner called from out of the
blue.

"The phone rings, and it's this booming Southern accent. And the first words
out of his mouth were, 'Is it true?’ 'ls what true,’ | said, thinking this was really
a weird way to start a conversation," recalls Fonda. "And he said, ‘Are you
and Hayden getting a divorce?’ Now, | mean, I'm in the middle of a nervous
breakdown, right? | can't talk above a whisper."

She wasn't ready, but when Turner called back three months later, he put on
the charm. "He went after me and dropped on his knees, recited poetry that
he’d written in high school,” says Fonda. "| mean, it was irresistible. And then
he'd come out with something like, The only problem is you're too old.”

How did she go from living in "the shack” with Hayden, to marrying a
billionaire, who at the time had 23 homes, without completely losing herself?

"You can get used to being taken care of very fast,” says Fonda, laughing. "|
mean, it doesn't take much."

"Tl bet," says Stahl. "But you know, | look from the outside at this marriage
and | say, ‘Jane Fonda did it again. She allowed a man to change her.'"

"In a positive way, yeah. | mean, | know I'm a chameleon in some ways. |
mean, you know, | was going to all these receptions. ...He goes from one
thing to another. A lot of tuxedos, a lot of gowns, on the arm of corporate
executive,” says Fonda.

"What was really going on though was very, very different. What was going en
was he gave me confidence. Ted Tumer would wake up every morning and
say, ‘I love you so much, You are so beautiful." And | would think, ‘Well, he's
no dummy. Gee whiz!”

And yet Turner wanted her to give up her movie career, which she says she
happily cid. But generally, she was subsumed, as she had been with Vadim
and Hayden, into her husband's life. And she now blames that “disease to
please,” as she puts it, on a difficult childhood. First off, her mother committed
suicide when Jane was 12,

"She had been institutionalized and the last time she came home with the
nurse, the nurse was there to keep her from daing this," says Fonda. "But she
got away from her nurse and went up and got a little lacquer box that had a
razor in it, and she went back te the institution, and cut her throat."

Fonda says she wasn't told about her mother’s suicide. Instead, she read

about it in a movie magazine. "They said she had a heart attack, and then,
one day, someone passed me a movie magazine with a story about my dad,"

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says Fonda. "And it said, ‘And his wife, Frances Seymour Fonda, cut her
throat.’ And | knew it was true. | knew it was true,”

Her father never spoke to her about the death. She writes that Henry Fonda,
so beloved as an actor, was a man of dark moods and rages at home, and
that she spent much of her life trying to reach him, even producing the movie
"On Golden Pond" explicitly so he could win his first Oscar.

Their relationship in the movie, she writes, was close to the real one they
shared. She says that Henry Fonda was as cold to her through the making of
the movie as he had been when she was a little girl. At the age of 15, she
developed bulimia, sometimes binging and purging up to eight or nine times a
day. This went on into her 40s.

“My husbands never knew. And my children never knew. It's a disease of
denial,” says Fonda.

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